              Case 14-50333-gs       Doc 25   Entered 03/24/14 13:23:57       Page 1 of 8




 1   KEVIN A. DARBY, NVSB #7670
     TRICIA M. DARBY, NVSB #7956
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 3   4777 Caughlin Parkway
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 4   Telephone (775) 322-1237
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 5
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 6
     Counsel for Kit Morrison, Todd Armstrong,
 7   Jerry Ferrara, Market Link Inc. and FM Holdings
 8

 9                              UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF NEVADA
10

11   In re:                                           CASE NO.: BK-N-14-50333-btb
                                                      Chapter 11
12
     ANTHONY THOMAS and WENDI
     THOMAS,                                          DECLARATION OF TRICIA M. DARBY ESQ.
13
                                                      IN SUPPORT OF MOTION FOR RELIEF
14                        Debtors.                    FROM STAY

15                                                     Hearing Date: April 22, 2014
                                                       Hearing Time: 10:00 a.m.
16

17
               I, TRICIA M. DARBY, ESQ. hereby declare under penalty of perjury as follows:
18
              1.     I am a partner at DARBY LAW PRACTICE counsel to KIT MORRISON, TODD
19
     ARMSTRONG, JERRY FERRARA, MARKET LINK INC. and FM HOLDINGS (collectively, the
20
     “State Court Defendants”) in the above-captioned bankruptcy proceeding.
21
              2.     On March 6, 2014, I sent the attached letter attached hereto as Exhibit “1” to Debtors’
22
     Counsel.
23
              3.     On March 11th and 13th, I e-mailed Debtors’ Counsel in an attempt to resolve the
24
     issues raised in the Motion for Relief from Stay. I also called Debtors’ Counsel.
25
              DATED this 24th day of March, 2014.
26
                                                                /s/ Tricia M. Darby
27                                                      By: ___________________________
28
                                                           TRICIA M. DARBY, ESQ.




                                                        1
Case 14-50333-gs   Doc 25   Entered 03/24/14 13:23:57   Page 2 of 8




                     Exhibit “1”




                     Exhibit “1”
Case 14-50333-gs   Doc 25   Entered 03/24/14 13:23:57   Page 3 of 8
Case 14-50333-gs   Doc 25   Entered 03/24/14 13:23:57   Page 4 of 8
Case 14-50333-gs   Doc 25   Entered 03/24/14 13:23:57   Page 5 of 8
Case 14-50333-gs   Doc 25   Entered 03/24/14 13:23:57   Page 6 of 8




                     Exhibit “2”




                     Exhibit “2”
         Case 14-50333-gs            Doc 25        Entered 03/24/14 13:23:57   Page 7 of 8


From:            Tricia M. Darby
To:              "mail@asmithlaw.com"
Subject:         FW: Thomas/Case No.: 14-50333
Date:            Thursday, March 13, 2014 11:20:00 AM
Attachments:     Conetto - Statement of Decision.pdf
                 Thomas_AmendedComplaint.pdf




Alan,

Any chance your client will stipulate? Thanks.

Tricia

From: Tricia M. Darby [mailto:tricia@darbylawpractice.com]
Sent: Tuesday, March 11, 2014 10:32 AM
To: 'mail@asmithlaw.com'
Subject: Thomas/Case No.: 14-50333




Alan,

Attached is your client’s Amended Complaint and the Statement of Decision disposing of the First
Claim of relief. The State Court entered the attached Statement of Decision denying Thomas’ claim
of ownership to the Bahia Emerald and dismissing with prejudice the First Claim for Recovery and
Possession of Personal Property. My clients filed a Motion For Judgment On The Pleadings
addressing the remaining claims, which is set for a hearing on 5/29. My clients want the action
brought by your clients to go forward as scheduled.

There remains two claimants in the underlying action after the Court found Thomas had no claim to
the Bahia Emerald. My clients also want this action to proceed. Please let me know if you will
stipulate to stay relief. Thank you.

TRICIA M. DARBY, ESQ.
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Case 14-50333-gs   Doc 25   Entered 03/24/14 13:23:57   Page 8 of 8
